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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 _____________________________________________________________________________
                                   )
SHIRLEY A. CARPIN, as Executor of  )
the Estate of SHIRLEY A. HILSTER,  )
deceased, and CHARLES W. HILSTER, )
JR., individually,                 )
                                   )
                Plaintiffs,        )
                                   )       Civil Action No. 2:20-cv-01537
        v.                         )
                                   )
AIR & LIQUID SYSTEMS               )
CORPORATION, et al.,               )
                                   )
                Defendants.        )
______________________________________________________________________________


                                ORDER OF COURT



      AND NOW, this ____ day of __________________, 2021, the Motion for Withdrawal of

Attorney Alison R. Viola is GRANTED.



                                               BY THE COURT:



                                               _______________________________, J.
